
Advantage Radiology, P.C., as Assignee of REBECCA NAHUM, Appellant,
againstNationwide Mutual Insurance Company, Respondent.



Appeal from an order of the District Court of Suffolk County, Third District




(C. Stephen Hackeling, J.), dated September 16, 2015. The order granted defendant's motion for summary judgment dismissing the complaint.
ORDERED that the order is affirmed, without costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the District Court which granted defendant's motion for
summary judgment dismissing the complaint on the ground that plaintiff had failed to provide requested verification.
For the reasons stated in Advantage Radiology P.C., as Assignee of Sofia Dana v Nationwide Mut. Ins. Co. (___ Misc 3d ___, 2017 NY Slip Op ____ [appeal No. 2015-2123 S C], decided herewith), the order is affirmed.
Marano, P.J., Garguilo and Brands, JJ., concur.
Decision Date: February 15, 2017










